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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    KLAUBER BROTHERS, INC., a New ) Case No. 2:20-cv-05447-PA (JDEx)
                                    )
11    York corporation,             )
                                    ) DISCOVERY MATTER
12                                  )
                        Plaintiff,  )
13                                  ) PROTECTIVE ORDER
                        v.          )
14                                  )
      MICHAEL STARS, INC.; et al.,  ) [Note Changes by the Court]
15                                  )
                                    )
16                      Defendants. )
                                    )
17
18          Based on the parties’ Stipulation (Dkt. 23), and for good cause appearing,
19    the Court finds and orders as follows.
20          1. INTRODUCTION
21                 1.1   Purposes and Limitations
22
            Discovery in this action is likely to involve production of confidential,
23
      proprietary or private information for which special protection from public
24
      disclosure and from use for any purpose other than pursuing this litigation may be
25
      warranted. The parties acknowledge that this Order does not confer blanket
26
      protections on all disclosures or responses to discovery and that the protection it
27
      affords from public disclosure and use extends only to the limited information or
28
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1     items that are entitled to confidential treatment under the applicable legal
2     principles. The parties further acknowledge, as set forth in Section 12(c), below,
3     that this Stipulated Protective Order does not entitle them to file confidential
4     information under seal; Civil Local Rule 79-5 sets forth the procedures that must
5     be followed and the standards that will be applied when a party seeks permission
6
      from the Court to file material under seal.
7
            1.2    GOOD CAUSE STATEMENT
8
            This action is likely to involve trade secrets, customer and pricing lists and
9
      other valuable research, development, commercial, financial, technical and/or
10
      proprietary information for which special protection from public disclosure and
11
      from use for any purpose other than prosecution of this action is warranted. Such
12
      confidential and proprietary materials and information consist of, among other
13
      things, confidential business or financial information, information regarding
14
      confidential business practices, or other confidential research, development, or
15
      commercial information (including information implicating privacy rights of third
16
      parties), information otherwise generally unavailable to the public, or which may
17
      be privileged or otherwise protected from disclosure under state or federal statutes,
18
19
      court rules, case decisions, or common law.

20           Moreover, there is good cause for a two-tiered or attorneys-eyes-only

21    designation inclusion in this protective order as certain of the Parties are suppliers,

22    customers and/or competitors of one another and discovery will include sourcing
23    information, wholesale prices, product mark-up, overhead, customers, vendors,
24    manufacturing and other sourcing information and confidential and non-public
25    financial and business information that the parties would reasonably protect from
26    customers and/or competitors.
27        Accordingly, to expedite the flow of information, to facilitate the prompt
28    resolution of disputes over confidentiality of discovery materials, to adequately
                                                 2
                                        PROTECTIVE ORDER
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1     protect information the parties are entitled to keep confidential, to ensure that the
2     parties are permitted reasonable and necessary uses of such material in preparation
3     for trial, to address their handling at the end of the litigation, and to serve the ends
4     of justice, a protective order for such information is justified in this matter. It is the
5     intent of the parties that information will not be designated as confidential for
6
      tactical reasons and that nothing be so designated without a good faith belief that it
7
      has been maintained in a confidential, non-public manner, and there is good cause
8
      why it should not be part of the public record of this case.
9
           The parties acknowledge that this Stipulated Protective Order does not confer
10
      blanket protections on all disclosures or responses to discovery and that the
11
      protection it affords from public disclosure and use extends only to the limited
12
      information or items that are entitled to confidential treatment under the applicable
13
      legal principles. Nothing herein shall prevent any Party from withholding or
14
      redacting any documents and/or information that the Party deems privileged,
15
      irrelevant, or otherwise objectionable.
16
          Nothing in this Stipulated Protective Order shall be deemed in any way to
17
      restrict the use of documents or information which are lawfully obtained or
18
19
      publicly available to a party independently of discovery in this Action, whether or

20    not the same material has been obtained during the course of discovery in the

21    Action and whether or not such documents or information have been designated

22    hereunder. However, in the event of a dispute regarding such independent
23    acquisition, a party wishing to use any independently acquired documents or
24    information shall bear the burden of proving independent acquisition.
25          2.     DEFINITIONS
26          2.1 Action: Klauber Brothers, Inc. v. Michael Stars, Inc.., et al., Case No.:
27    2:20-cv-05447-PA-JDE.
28          2.2    Challenging Party: a Party or Non-Party that challenges the
                                                  3
                                         PROTECTIVE ORDER
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1     designation of information or items under this Order.
2           2.3    “CONFIDENTIAL” Information or Items:
3             a.   “CONFIDENTIAL” Information or Items: information (regardless of
4        how it is generated, stored or maintained) or tangible things that qualify for
5        protection under Federal Rule of Civil Procedure 26(c), and as specified above
6
         in the Good Cause Statement.
7
              b. “HIGHLY CONFIDENTIAL”—ATTORNEYS’ EYES ONLY”
8
         Information or Items: extremely sensitive “CONFIDENTIAL” Information or
9
         Items, the disclosure of which to another Party or Non-Party would create a
10
         substantial risk of serious harm that could not be avoided by less restrictive
11
         means.
12
         2.4 Consultant: A person, including non-party expert and/or consultant,
13
         retained or employed by Counsel to assist in the preparation of the case, to the
14
         extent that they are reasonably necessary to render professional services in this
15
         Action, and subject to the disclosure requirements within this Stipulated
16
         Protective Order.
17
            2.5 Counsel: Outside Counsel of Record and House Counsel (as well as their
18
19
      support staff).

20          2.6 Designating Party: a Party or Non-Party that designates information or

21    items that it produces in disclosures or in responses to discovery as
22    “CONFIDENTIAL or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
23    ONLY.”
24          2.7    Disclosure or Discovery Material: all items or information, regardless
25    of the medium or manner in which it is generated, stored, or maintained (including,
26    among other things, testimony, transcripts, and tangible things), that are produced
27    or generated in disclosures or responses to discovery in this matter.
28          2.8     Expert: a person with specialized knowledge or experience in a
                                                4
                                       PROTECTIVE ORDER
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1     matter pertinent to the litigation who has been retained by a Party or its counsel to
2     serve as an expert witness or as a consultant in this Action.
3           2.9    House Counsel: attorneys who are employees of a party to this Action.
4     House Counsel does not include Outside Counsel of Record or any other outside
5     counsel.
6
            2.10 Non-Party: any natural person, partnership, corporation, association,
7
      or other legal entity not named as a Party to this action.
8
            2.11 Outside Counsel of Record: attorneys who are not employees of a
9
      party to this Action but are retained to represent or advise a party to this Action
10
      and have appeared in this Action on behalf of that party or are affiliated with a law
11
      firm which has appeared on behalf of that party, and includes support staff.
12
            2.12 Party: any party to this Action, including all of its officers, directors,
13
      employees, consultants, retained experts, and Outside Counsel of Record (and their
14
      support staffs).
15
            2.13 Producing Party: a Party or Non-party that produces Disclosure or
16
      Discovery Material in this Action.
17
            2.14 Professional Vendors: persons or entities that provide litigation
18
19
      support services (e.g., photocopying, videotaping, translating, preparing exhibits or

20    demonstrations, and organizing, storing, or retrieving data in any form or medium)

21    and their employees and subcontractors.

22          2.15    Protected Material: any Disclosure or Discovery Material that is
23    designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—
24    ATTORNEYS’ EYES ONLY.”
25          2.16   Receiving Party: a Party that receives Disclosure or Discovery
26    Material from a Producing Party.
27    ///
28    ///
                                                 5
                                       PROTECTIVE ORDER
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1           3.     SCOPE
2           The protections conferred by this Stipulation and Order cover not only
3     Protected Material (as defined above), but also (1) any information copied or
4     extracted from Protected Material; (2) all copies, excerpts, summaries, or
5     compilations of Protected Material; and (3) any testimony, conversations, or
6
      presentations by Parties or their Counsel that might reveal Protected Material.
7
            Any use of Protected Material at trial shall be governed by the orders of the
8
      trial judge and other applicable authorities. This Order does not govern the use of
9
      Protected Material at trial.
10
            4.     DURATION
11
              Even after final disposition of this litigation, the confidentiality obligations
12
      imposed by this Order will remain in effect until a Designating Party agrees
13
      otherwise in writing or a court order otherwise directs. Final disposition will be
14
      deemed to be the later of (1) dismissal of all claims and defenses in this Action,
15
      with or without prejudice; and (2) final judgment herein after the completion and
16
      exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
17
      including the time limits for filing any motions or applications for extension of
18
19
      time pursuant to applicable law.

20           The use of Designated Materials at depositions does not void the

21    documents’ status as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

22    ATTORNEYS’ EYES ONLY” material or void the restrictions on the use of the
23    Designated Materials. Upon request of a party, the parties shall meet and confer
24    concerning the use and protection of Designated Material in open court at any
25    hearing.
26            At deposition, the party using Designated Material must request that the
27    portion of the proceeding where use is made be conducted so as to exclude persons
28    not qualified to receive such Designated Material.
                                                 6
                                         PROTECTIVE ORDER
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1            Prior to the pretrial conference, the parties shall meet and confer
2     concerning appropriate methods for dealing with Designated Material at trial.
3           5.     DESIGNATING PROTECTED MATERIAL
4           5.1    Exercise of Restraint and Care in Designating Material for
5                  Protection. Each Party or Non-Party that designates information or
6
      items for protection under this Order must take care to limit any such designation
7
      to specific material that qualifies under the appropriate standards. The Designating
8
      Party must designate for protection only those parts of material, documents, items
9
      or oral or written communications that qualify so that other portions of the
10
      material, documents, items or communications for which protection is not
11
      warranted are not swept unjustifiably within the ambit of this Order.
12
            Mass, indiscriminate or routinized designations are prohibited. Designations
13
      that are shown to be clearly unjustified or that have been made for an improper
14
      purpose (e.g., to unnecessarily encumber the case development process or to
15
      impose unnecessary expenses and burdens on other parties) may expose the
16
      Designating Party to sanctions.
17
            If it comes to a Designating Party’s attention that information or items that it
18
19
      designated for protection do not qualify for protection, that Designating Party must

20    promptly notify all other Parties that it is withdrawing the inapplicable designation.

21          5.2    Manner and Timing of Designations.

22            Except as otherwise provided in this Order, or as otherwise stipulated or
23    ordered, Disclosure of Discovery Material that qualifies for protection under this
24    Order must be clearly so designated before the material is disclosed or produced.
25    Designation in conformity with this Order requires:
26                 (a) for information in documentary form (e.g., paper or electronic
27    documents, but excluding transcripts of depositions or other pretrial or trial
28    proceedings), that the Producing Party affix at a minimum, the legend
                                                7
                                        PROTECTIVE ORDER
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1     “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
2     contains protected material. If only a portion of the material on a page qualifies for
3     protection, the Producing Party also must clearly identify the protected portion(s)
4     (e.g., by making appropriate markings in the margins).
5                  A Party or Non-Party that makes original documents available for
6
      inspection need not designate them for protection until after the inspecting Party
7
      has indicated which documents it would like copied and produced. During the
8
      inspection and before the designation, all of the material made available for
9
      inspection will be deemed “CONFIDENTIAL.” After the inspecting Party has
10
      identified the documents it wants copied and produced, the Producing Party must
11
      determine which documents, or portions thereof, qualify for protection under this
12
      Order. Then, before producing the specified documents, the Producing Party must
13
      affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL–
14
      ATTORNEYS’ EYES ONLY” to each page that contains Protected Material. If
15
      only a portion or portions of the material on a page qualifies for protection, the
16
      Producing Party also must clearly identify the protected portion(s) (e.g., by making
17
      appropriate markings in the margins).the protected portion(s) (e.g., by making
18
19
      appropriate markings in the margins).

20                 (b) for testimony given in depositions that the Designating Party

21    identifies the Disclosure or Discovery Material on the record, before the close of

22    the deposition all protected testimony.
23                 (c) for information produced in some form other than documentary
24    and for any other tangible items, that the Producing Party affix in a prominent
25    place on the exterior of the container or containers in which the information is
26    stored the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
27    ATTORNEYS’ EYES ONLY. If only a portion or portions of the information
28    warrants protection, the Producing Party, to the extent practicable, shall identify
                                                8
                                       PROTECTIVE ORDER
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1     the protected portion(s).
2           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
3     failure to designate qualified information or items does not, standing alone, waive
4     the Designating Party’s right to secure protection under this Order for such
5     material. Upon timely correction of a designation, the Receiving Party must make
6
      reasonable efforts to assure that the material is treated in accordance with the
7
      provisions of this Order.
8
            5.4     Copies. All complete or partial copies of a document that disclose
9
      Designated Materials shall be subject to the terms of this Stipulated Protective
10
      Order.
11
           5.5     Unless and until otherwise ordered by the Court or agreed to in writing
12
      by the parties, all Designated Materials designated under this Stipulated Protective
13
      Order shall be used by the parties and persons receiving such Designated Materials
14
      solely for conducting the above-captioned litigation and any appellate proceeding
15
      relating thereto. Designated Material shall not be used by any party or person
16
      receiving them for any business or any other purpose. No party or person shall
17
      disclose Designated Material to any other party or person not entitled to receive
18
19
      such Designated Material under the specific terms of this Stipulated Protective

20    Order. For purposes of this Stipulated Protective Order, “disclose” or “disclosed”

21    means to show, furnish, reveal or provide, indirectly or directly, any portion of the

22    Designated Material or its contents, orally or in writing, including the original or
23    any copy of the Designated Material.
24          6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
25          6.1.     Timing of Challenges. Any Party or Non-Party may challenge a
26    designation of confidentiality at any time that is consistent with the Court’s
27    Scheduling Order.
28          6.2      Meet and Confer. The Challenging Party shall initiate the dispute
                                                 9
                                        PROTECTIVE ORDER
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1      resolution process under Local Rule 37-1 et seq.
2            6.3 Joint Stipulation. Any challenge submitted to the Court shall be via a
3      joint stipulation pursuant to Local Rule 37-2.
4            6.4 The burden of persuasion in any such challenge proceeding shall be on
5      the Designating Party. Frivolous challenges, and those made for an improper
6
       purpose (e.g., to harass or impose unnecessary expenses and burdens on other
7
       parties) may expose the Challenging Party to sanctions. Unless the Designating
8
       Party has waived or withdrawn the confidentiality designation, all parties shall
9
       continue to afford the material in question the level of protection to which it is
10
       entitled under the Producing Party’s designation until the Court rules on the
11
       challenge.
12
13           7.     ACCESS TO AND USE OF PROTECTED MATERIAL
14           7.1 Basic Principles. A Receiving Party may use Protected Material that is
15     disclosed or produced by another Party or by a Non-Party in connection with this
16     Action only for prosecuting, defending or attempting to settle this Action. Such
17     Protected Material may be disclosed only to the categories of persons and under
18     the conditions described in this Order. When the Action has been terminated, a
19     Receiving Party must comply with the provisions of section 13 below (FINAL
20     DISPOSITION).
21           Protected Material must be stored and maintained by a Receiving Party at a
22
       location and in a secure manner that ensures that access is limited to the persons
23
       authorized under this Order.
24
             7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
25
       otherwise ordered by the court or permitted in writing by the Designating Party, a
26
       Receiving Party may disclose any information or item designated
27
       “CONFIDENTIAL” only to:
28
                                                 10
                                        PROTECTIVE ORDER
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1                     (a) the Receiving Party’s Outside Counsel of Record in this Action, as
2      well as employees of said Outside Counsel of Record to whom it is reasonably
3      necessary to disclose the information for this Action;
4                     (b) the officers, directors, and employees (including House Counsel)
5      of the Receiving Party to whom disclosure is reasonably necessary for this Action;
6
                      (c) Experts (as defined in this Order) of the Receiving Party to whom
7
       disclosure is reasonably necessary for this Action and who have signed the
8
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
9
                      (d) the court and its personnel;
10
                      (e) court reporters and their staff;
11
                      (f) professional jury or trial consultants, mock jurors, and Professional
12
       Vendors to whom disclosure is reasonably necessary for this Action and who have
13
       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
14
                      (g) The Author or recipient of a document containing the information
15
       or a custodian or other person who otherwise possessed or knew the information;
16
                      (h) During their depositions, witnesses, and attorneys for witnesses, in
17
       the Action to whom disclosure is reasonably necessary provided: (1) the deposing
18
19
       party requests that the witness sign the form attached as Exhibit A hereto; and (2)

20     they will not be permitted to keep any confidential information unless they sign the

21     “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

22     agreed by the Designating Party or ordered by the court. Pages of transcribed
23     deposition testimony or exhibits to depositions that reveal Protected Material may
24     be separately bound by the court reporter and may not be disclosed to anyone
25     except as permitted under this Stipulated Protective Order; and
26                    (i) Any mediators or settlement officers and their supporting
27     personnel, mutually agreed upon by any of the parties engaged in settlement
28     discussions.
                                                    11
                                           PROTECTIVE ORDER
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1            7.3   Disclosure of “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
2                   ONLY” Information or Items.
3             Unless otherwise ordered by the Court or permitted in writing by the
4      Designating Party, a Receiving Party may disclose any information or item
5      designated “HIGHLY CONFIDENTIAL –ATTORNEYS EYES ONLY” only to:
6
                (a) The Receiving Party’s Outside Counsel of Record in this Action, as
7
       well as employees of said Outside Counsel of Record to whom it is reasonably
8
       necessary to disclose the information for this Action;
9
              (b) Experts (as defined in this Order) of the Receiving Party to whom
10
       disclosure is reasonably necessary for this Action and who have signed the
11
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
12
              (c) The Court and its personnel;
13
              (d) Court reporters and their staff;
14
              (e) Professional jury or trial consultants, mock jurors, and Professional
15
       Vendors to whom disclosure is reasonably necessary for this Action and who have
16
       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
17
              (f) The Author or recipient of a document containing the information or a
18
19
       custodian or other person who otherwise possessed or knew the information;

20           (g) Any mediator or settlement officer, and their supporting personnel,

21     mutually agreed upon by any of the parties engaged in settlement discussions.

22            7.4 Use of Designated Materials by Designating Party. Nothing in this
23     Stipulated Protective Order shall limit a Designating Party’s use of its own
24     information or materials, or prevent a Designating Party from disclosing its own
25     information or materials to any person. Such disclosure shall not affect any
26     designations made pursuant to the terms of this Stipulated Protective Order, so
27     long as the disclosure is made in a manner that is reasonably calculated to maintain
28     the confidentiality of the information.
                                                 12
                                        PROTECTIVE ORDER
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1            8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
2                   PRODUCED IN OTHER LITIGATION

3            If a Party is served with a subpoena or a court order issued in other litigation
4      that compels disclosure of any information or items designated in this Action as
5      “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
6
       ONLY,” that Party must:
7
                    (a) promptly notify in writing the Designating Party. Such notification
8
       shall include a copy of the subpoena or court order;
9
                    (b) promptly notify in writing the party who caused the subpoena or
10
       order to issue in the other litigation that some or all of the material covered by the
11
       subpoena or order is subject to this Protective Order. Such notification shall
12
       include a copy of this Stipulated Protective Order; and
13
                    (c) cooperate with respect to all reasonable procedures sought to be
14
       pursued by the Designating Party whose Protected Material may be affected. If the
15
       Designating Party timely seeks a protective order, the Party served with the
16
       subpoena or court order shall not produce any information designated in this action
17
       as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES
18
19
       ONLY,” before a determination by the court from which the subpoena or order

20     issued, unless the Party has obtained the Designating Party’s permission. The

21     Designating Party shall bear the burden and expense of seeking protection in that

22     court of its confidential material and nothing in these provisions should be
23     construed as authorizing or encouraging a Receiving Party in this Action to
24     disobey a lawful directive from another court.
25           9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO
                    BE PRODUCED IN THIS LITIGATION
26
27                  (a) The terms of this Order are applicable to information produced by
28     a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
                                                 13
                                         PROTECTIVE ORDER
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1      information produced by Non-Parties in connection with this litigation is protected
2      by the remedies and relief provided by this Order. Nothing in these provisions
3      should be construed as prohibiting a Non-Party from seeking additional
4      protections.
5                     (b) In the event that a Party is required, by a valid discovery request,
6
       to produce a Non-Party’s confidential information in its possession, and the Party
7
       is subject to an agreement with the Non-Party not to produce the Non-Party’s
8
       confidential information, then the Party shall:
9
                      (1) Promptly notify in writing the Requesting Party and the Non-Party
10
       that some or all of the information requested is subject to a confidentiality
11
       agreement with a Non-Party;
12
                      (2) Promptly provide the Non-Party with a copy of the Stipulated
13
       Protective Order in this Action, the relevant discovery request(s), and a reasonably
14
       specific description of the information requested; and
15
                      (3) Make the information requested available for inspection by the
16
       Non-Party, if requested.
17
                      (c) If the Non-Party fails to seek a protective order from this court
18
19
       within 14 days of receiving the notice and accompanying information, the

20     Receiving Party may produce the Non-Party’s confidential information responsive

21     to the discovery request. If the Non-Party timely seeks a protective order, the

22     Receiving Party shall not produce any information in its possession or control that
23     is subject to the confidentiality agreement with the Non-Party before a
24     determination by the court. Absent a court order to the contrary, the Non-Party
25     shall bear the burden and expense of seeking protection in this court of its
26     Protected Material.
27     ///
28     ///
                                                   14
                                          PROTECTIVE ORDER
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1            10.    UNAUTHORIZED DISCLOSURE OF PROTECTED
2                   MATERIAL

3            If a Receiving Party learns that, by inadvertence or otherwise, it has
4      disclosed Protected Material to any person or in any circumstance not authorized
5      under this Stipulated Protective Order, the Receiving Party must immediately (a)
6
       notify in writing the Designating Party of the unauthorized disclosures, (b) use its
7
       best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
8
       the person or persons to whom unauthorized disclosures were made of all the terms
9
       of this Order, and (d) request such person or persons to execute the
10
       “Acknowledgment an Agreement to Be Bound” attached hereto as Exhibit A.
11
             11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
12                  OTHERWISE PROTECTED MATERIAL
13
             Any inadvertent production of documents containing privileged information
14
       shall not be deemed to be a waiver of the attorney-client privilege, work product
15
       doctrine, or any other applicable privilege or doctrines. All parties specifically
16
       reserve the right to demand the return of any privileged documents that it may
17
       produce inadvertently during discovery if the producing party determines that such
18
19
       documents contain privileged information. After receiving notice of such

20     inadvertent production by the producing party, the receiving party, within five (5)

21     business days of receiving any such notice, agrees to locate and return to the

22     producing party all such inadvertently produced documents, or certify the
23     destruction thereof.
24           12.    MISCELLANEOUS
25           12.1 Right to Further Relief. Nothing in this Order abridges the right of any
26     person to seek its modification by the Court in the future.
27           12.2 Right to Assert Other Objections. By stipulating to the entry of this
28
                                                 15
                                        PROTECTIVE ORDER
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1      Protective Order, no Party waives any right it otherwise would have to object to
2      disclosing or producing any information or item on any ground not addressed in
3      this Stipulated Protective Order. Similarly, no Party waives any right to object on
4      any ground to use in evidence of any of the material covered by this Protective
5      Order.
6
             12.3 Filing Protected Material. A Party that seeks to file under seal any
7
       Protected Material must comply with Local Civil Rule 79-5. Protected Material
8
       may only be filed under seal pursuant to a court order authorizing the sealing of the
9
       specific Protected Material. If a Party’s request to file Protected Material under
10
       seal is denied by the court, then the Receiving Party may file the information in the
11
       public record unless otherwise instructed by the court.
12
             13.    FINAL DISPOSITION
13
             After the final disposition of this Action, as defined in Section 4, within 60
14
       days of a written request by the Designating Party, each Receiving Party must
15
       return all Protected Material to the Producing Party or destroy such material. As
16
       used in this subdivision, “all Protected Material” includes all copies, abstracts,
17
       compilations, summaries, and any other format reproducing or capturing any of the
18
19
       Protected Material. Whether the Protected Material is returned or destroyed, the

20     Receiving Party must submit a written certification to the Producing Party (and, if

21     not the same person or entity, to the Designating Party) by the 60-day deadline that

22     (1) identifies (by category, where appropriate) all the Protected Material that was
23     returned or destroyed and (2) affirms that the Receiving Party has not retained any
24     copies, abstracts, compilations, summaries or any other format reproducing or
25     capturing any of the Protected Material. Notwithstanding this provision, Counsel
26     are entitled to retain an archival copy of all pleadings, motion papers, trial,
27     deposition, and hearing transcripts, legal memoranda, correspondence, deposition
28     and trial exhibits, expert reports, attorney work product, and consultant and expert
                                                  16
                                         PROTECTIVE ORDER
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1      work product, even if such materials contain Protected Material. Any such archival
2      copies that contain or constitute Protected Material remain subject to this
3      Protective Order as set forth in Section 4 (DURATION).
4            14.    Any violation of this Order may be punished by appropriate
5      measures, including, without limitation, contempt proceedings and/or other
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       sanctions, including monetary sanctions.
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8
             FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
9
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       DATED: November 05, 2020
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13                                            _________________________________
                                              JOHN D. EARLY
14                                            United States Magistrate Judge
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                                        PROTECTIVE ORDER
